    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 1 of 56
                                    Docket No: 22-cv-07925-PGG-JLC

  United States District Court
      SOUTHERN DISTRICT OF NEW YORK
SHARON LAFIA
                                                               Plaintiffs
                                  –v–


NEW YORK CITY, BOARD OF EDUCATION OF THE CITY
SCHOOL DISTRICT OF THE CITY OF NEW YORK, A/K/A THE
NEW YORK CITY DEPARTMENT OF EDUCATION, JEFFREY
EUSTACHE in his individual and in his official capacity, PRINCIPAL
INDIRA MOTA, in her individual and in her official capacity, LINDSAY
CICILLINI, in her individual and in her official capacity, NEW YORK
CITY LAW DEPARTMENT, FORMER NEW YORK CITY LAW
DEPARTMENT ATTORNEY BRITTNEY JORDAN FINDER, in her individual
and in her official capacity, AND JOHN AND JANE DOES NOS. 1-10;

                                                             Defendants,

    AMENDED VERIFIED COMPLAINT
                       CORY H. MORRIS (CM 5225)
                  THE LAW OFFICES OF CORY H. MORRIS
                       Attorney for Sharon LaFia
                          Office & P.O. Address
                    135 Pinelawn Road, Suite 250s
                           Melville NY 11747
                          Phone: (631) 450–2515
                          FAX: (631) 223–7377
                  Email: Cory.H.Morris@protonmail.com
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 2 of 56




                              TABLE OF CONTENTS
Verified Complaint ...................................................................... 3

Plaintiff demands a trial by Jury ............................................... 3

Preliminary Statement ................................................................ 3

Introduction ................................................................................. 3

Jurisdiction and Venue ............................................................. 10

Administrative Proceedings and Timeliness............................ 10

Parties ........................................................................................ 12

The Facts .................................................................................... 15

     Preferential treatment on the basis of sex/gender and/or
     race/color ............................................................................... 29

     Retaliation against LaFia and Placing Jeffrey Eustache
     back in her classroom when he filed a 2.5 Million Dollar
     Lawsuit against Sharon LaFia ............................................ 32

     Retaliation and Pretext: Plaintiff’s hearing and Due Process
     Deprivations ......................................................................... 34

     The continued persecution of Sharon LaFia ....................... 37

     42 U.S.C. §§ 2000A, 2000-D: Civil Rights Act Title VI,
     Hostile Education Environment and Hostile Work
     Environment ......................................................................... 38

Family Medical Leave Act (“FMLA”) Discrimination and
   Retaliation.......................................................................... 42
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 3 of 56




Judiciary Law, Invasion of privacy and Fourth Amendment
    violations ............................................................................ 43

Plaintiff’s “Monell” claim; 42 U.S.C. §§ 1981, 1983, 1985 and
     1986 .................................................................................... 45

Defamation/Slander/Stigma Plus ............................................. 46

Federal & Pendent State Law Claims ...................................... 48

Malicious prosecution ................................................................ 49

Discrimination, Hostile Work Environment & Retaliation
     under state and federal law .............................................. 50

New York State Executive Law § 296 ...................................... 51

Abuse of Process ........................................................................ 51

Negligence and Negligent Retention ........................................ 51

Negligent and/or Intentional Infliction of Emotional Distress 52

Prima Facie Tort ........................................................................ 53

Injuries and Damages ............................................................... 54

Prayer for Relief ......................................................................... 54




                                               ii
     Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 4 of 56




                       VERIFIED COMPLAINT
    Plaintiff Sharon LaFia (“LaFia”), a tenured special education
teacher for more twenty-five years without a single complaint until
now, files this verified complaint by her attorneys, the Law Office
of Cory H. Morris, to address the hostile education/work
environment and the various acts of discrimination and ongoing
retaliation by various persons employed by New York City (“NYC”)
and the New York City Department of Education (“DOE”).
              PLAINTIFF DEMANDS A TRIAL BY JURY
                     PRELIMINARY STATEMENT
This is a civil action seeking a declaratory judgment, and equitable
relief, together with compensatory, general, and punitive damages,
costs, disbursements, and attorneys’ fees from the Defendants acts
of workplace related discrimination and retaliation; for violating
Plaintiff’s civil rights, and violations of her rights under the United
States Constitution and New York State Constitutions; and for
violations of state law by their negligence, defamation, stigma and
slander, abuse of process, negligent and/or intentional infliction of
emotional distress, and prima facie tort resulting in injury and
damage to the Plaintiff, SHARON LAFIA.

                            INTRODUCTION
1.   Plaintiff, SHARON LAFIA, alleges that Defendants, jointly and
     severally, individually and collectively, intentionally,
     knowingly, wantonly, negligently, and/or recklessly, sought to
     and did discriminate and retaliate against her, causing
     various injury and damages and wrongfully depriving her of
     her civil, constitutional, and human rights by acts committed
     under color of law.


                                    3
     Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 5 of 56




2.   Starting in February 2018, Ms. LaFia was wrongfully
     targeted on the basis of her color/race and/or sex/gender,
     summarily punished, subject to a false complaint, including
     but not limited to investigation involving, among other
     wrongs, invasion of personal privacy, without legal
     justification, that culminated in Defendant BRITTNEY JORDAN
     FINDER, an attorney, taking SHARON LAFIA’s personal cellular
     phone and copying the entirety of it without LaFia’s
     representation by her union or lawyer.
3.   Despite several attempts, including a New York County
     (“NYC”) Supreme Court filing, Sharon LaFia v. New York
     City et al, 154691/2021 to enforce New York’s Freedom of
     Information Law (“FOIL”), Defendants have not produced
     SHARON LAFIA’s cellular phone data to her albeit BOARD OF
     EDUCATION OF THE CITY SCHOOL DISTRICT OF THE CITY OF
     NEW YORK, A/K/A THE NEW YORK CITY DEPARTMENT OF
     EDUCATION (“Department of Education,” “NYC DOE” or
     “DOE”) prosecuted her and sought her dismissal for false
     charges nearly all of which were dismissed.
4.   Starting on or about February, 2018 and continuing to this
     day (the latest by which was refusal to accept Family and
     Medical Leave (“FMLA”) requests), Plaintiff SHARON LAFIA,
     by means of the false complaint of Defendant JEFFREY
     EUSTACHE, suffered discrimination on the basis of
     race/color/sex/gender, being treated less favorably than non-
     female non-Caucasian workers by NYC DOE.
5.   Defendants, individually and collectively, engaged in or
     allowed and permitted defamation, stigma, libel, slander
     malicious prosecution, abuse of process, deliberate



                                    4
     Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 6 of 56




     indifference, failure to indemnify, intentional infliction of
     emotional distress, negligent infliction of emotional distress,
     all the while creating of and maintaining a hostile
     working/hostile education environment for SHARON LAFIA,
     and violating the human and civil rights of Ms. LAFIA.
6.   Plaintiff, SHARON LAFIA, alleges that Defendants, jointly and
     severally, individually and collectively, intentionally,
     knowingly, wantonly, negligently, and/or recklessly, sought to
     produce and allow the false complaint against her to persist
     and acted favorably towards Defendant JEFFREY EUSTACHE on
     the basis of his race/color, a black/African American, and
     sex/gender, a male, albeit Defendant JEFFREY EUSTACHE
     engaged in misconduct, and caused physical/emotional harm
     to those around him, for which he was to be disciplined.
7.   Defendant JEFFREY EUSTACHE made false complaints using
     the NYC DOE while avoiding reprimand as the subject of
     several reports of physical harassment of students, watching
     pornography on his phone (as reported to Plaintiff, Ms.
     Estrella and a parent Ms Herendez, Jaylin’s parent), and
     other complaints by initiated by parents and told to PRINCIPAL
     INDIRA MOTA.
8.   Instead of reprimand Defendant JEFFREY EUSTACHE,
     PRINCIPAL INDIRA MOTA through the NYC DOE, used Plaintiff
     SHARON LAFIA as a scapegoat for JEFFREY EUSTACHE’S
     misconduct by falsely claiming that he was subject to sexual
     harassment and discrimination by Plaintiff SHARON LAFIA.
9.   Plaintiff SHARON LAFIA is forced to file this amended
     complaint after suffering ongoing and continuing retaliation,



                                    5
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 7 of 56




      discrimination, a series of constitutional violations, wrongful
      search, wrongful seizure, defamation, stigma, libel, slander,
      malicious prosecution, abuse of process, deliberate
      indifference, intentional infliction of emotional distress,
      negligent infliction of emotional distress, loss of income and
      the need to continue working in a hostile working/hostile
      education environment (see DM et al v. St. Mary School et al,
      18-cv-3099 (DRH)(GRB) (EDNY)).
10.   The hostile working/hostile education environment resulted
      from, among other wrongs by the Defendants, the negligent
      hiring, training, retention, and supervision, acts of
      negligence, recklessness and intentional acts of New York
      City, its agents and employees, the DOE, its agents and
      employees who, upon information and belief, conspired with
      aided, and failed to intervene in response to Defendants’, as
      orchestrated by JEFFREY EUSTACHE, scheme to defraud NYC
      and DOE while exonerating Defendants JEFFREY EUSTACHE‘s
      misconduct and enriching themselves in their employment
      with the DOE.
11.   SHARON LAFIA was unlawfully searched and suffered
      constitutional violations.
12.   SHARON LAFIA was stigmatized, defamed and wrongfully
      accused of a sexual harassment and race discrimination.
13.   SHARON LAFIA was subject to discrimination and retaliation
      in complying with the demands of NYC.
14.   SHARON LAFIA was deceived into, among other things, an
      illegal search and download of her cellular phone by
      Defendant BRITTNEY JORDAN FINDER under the ruse she



                                     6
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 8 of 56




      represented SHARON LAFIA in the lawsuit filed by Defendant
      JEFFREY EUSTACHE.
15.   Defendants, individually and collectively, knew and had
      reason to know that there was no merit to the complaint by
      Defendant JEFFREY EUSTACHE and continuance of the
      accusation/prosecution which was malicious and unfounded
      and that the defamation, stigma, libel, slander malicious
      prosecution, abuse of process, deliberate indifference, abuse of
      process, intentional infliction of emotional distress, negligent
      infliction of emotional distress and pursuit of such false
      charges was illegal.
16.   On or about October 2, 2019, Defendant JEFFREY EUSTACHE
      was restored to service and placed back in the classroom with
      Plaintiff after Defendants, individually and collectively, made
      and supported false allegations that Plaintiff sexually
      discriminated and harassed JEFFREY EUSTACHE.
17.   Instead of separate Plaintiff and JEFFREY EUSTACHE,
      PRINCIPAL INDIRA MOTA decided to ignore Plaintiff’s
      complaints of a hostile education environment, that she felt
      unsafe and that she was the subject of a multimillion dollar
      lawsuit by JEFFREY EUSTACHE.
18.   In response, Defendants placed SHARON LAFIA, a teacher who
      was never subjected to any complaints in over two (2)
      decades, in a “rubber room”, preventing her from progressing
      in her career with Defendants NYC and DOE.
19.   Defendants, individually and collectively, pursued charges
      based on the false allegations and withheld exonerative
      evidence that was illegally obtain by state actor BRITTANY



                                     7
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 9 of 56




      FINDER and as a result of which administrative charges were
      brought against SHARON LAFIA which were continued for a
      pre-hearing conference (October 6, 2020) and remote hearings
      on December 9 and 17, 2021, January 5, 18, 19, 24 and 28,
      February 7, 10, 15, and 28, March 1, 3, and 15, 2022 requiring
      SHARON LAFIA to defend against false charges, and causing
      Plaintiff to endure stigma, suffer emotional distress, and
      prevent her from progressing in her career.
20.   SHARON LAFIA was subjected to a formal disciplinary hearing,
      NYCDOE v. LaFia SED No. 36157 3020-a, which ultimately
      resulted in the dismissal of several school charges but did not
      afford her the due process, by including the alleged proof that
      DOE took by unlawful search and seizure.
21.   NYCDOE v. LaFia SED No. 36157 3020-a resulted in findings
      based on false evidence, false testimony, and did not give
      SHARON LAFIA any meaningful opportunity to obtain evidence
      to challenge false allegations nor provide her the opportunity
      to review the alleged evidence obtained from her by a state
      actor under false and illegal pretenses.
22.   SHARON LAFIA suffered discrimination as a white woman, by
      being afforded less due process than the black male who
      falsely accused her of sexual harassment.
23.   To this date, SHARON LAFIA suffers physical and emotional
      distress and continued discrimination against her as a result
      of Defendants’ actions.
24.   Defendants, individually and/or collectively, jointly and/or
      severally, created and fostered a Hostile Education
      Environment for SHARON LAFIA by, among other acts, placing



                                     8
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 10 of 56




       JEFFREY EUSTACHE back in the classroom with Ms LaFia
       after she voiced complaints and concerns about him and was
       then made the subject of a multimillion dollar lawsuit by
       JEFFREY EUSTACHE.
25.    Defendants, individually and collectively, knew and had
       reason to know that JEFFREY EUSTACHE engaged in various
       acts of misconduct and physical violence prior to making false
       allegations of misconduct against Plaintiff, to use her as a
       scapegoat to avoid accountability, as told directly to NYC
       DOE and PRINCIPAL INDIRA MOTA inclusive of:
            - The physical harassment of student David Douglas;
            - The threat to fight student Issac Nunez; and
            - Verbal abuse to students due that was ignored by
              PRINCIPAL INDIRA MOTA by the Parent Of Justin
              Velez, Parent of Jaylin Santigo, Parent of twin
              brothers Justin Corredo and Josh Corredo, Parent of
              Amanda Torres, Parent of Destiny Gonzelez, Parent of
              Aman, Parent of Thomas , Parent of Layani, Parents
              of Justin Alya, Parent of Jeremiah and the Mother of
              Zaire (hereinafter referred to as “Complaining
              Parents”).
26.    Complaining Parents provided continued notice of a Hostile
       Education Environment to PRINCIPAL INDIRA MOTA and NYC
       DOE that Defendants, individually and collectively, failed to
       address and ignored.
27.    Defendants, individually and/or collectively, jointly and/or
       severally, have maintained a hostile work environment for




                                      9
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 11 of 56




       SHARON LAFIA, by, among other actions, failing to approve
       Family Medical Leave to care for her daughter with cancer.
28.    Defendants, individually and/or collectively, jointly and/or
       severally, transferred Plaintiff out of the school in which she
       taught for over twenty (20) years without incident as an
       obvious act of retaliation and in furtherance of the Hostile
       Education Environment endorsed by PRINCIPAL INDIRA MOTA.
29.    No other request for the relief requested herein has been
       made.
                      JURISDICTION AND VENUE
30.    The jurisdiction of this Court is invoked under 28 U.S.C.
       §§ 1331 and 1343.
31.    This Honorable Court is requested to exercise supplemental
       jurisdiction with respect to Plaintiffs’ State Law claims
       pursuant to 28 U.S.C. §1367.
32.    This action is brought pursuant to 42 U.S.C. § 1983, 42 U.S.C.
       § 1985, and 42 U.S.C. § 1986.
33.    Venue in the Southern District of New York is proper under
       28 U.S.C. § 1391, based on the fact that the place where the
       events and violations herein alleged occurred was throughout
       the five boroughs of Manhattan and that New York City
       Offices are located within New York City, New York.
        ADMINISTRATIVE PROCEEDINGS AND TIMELINESS
34.    This action has been commenced within the three-year
       statute of limitations applicable to federal civil rights actions
       brought pursuant to 42 U.S.C. §§ 1981, 1983, 1985 and 1986.




                                     10
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 12 of 56




35.    On or about January 13, 2020 Plaintiff filed a Notice of Claim
       which is incorporated fully herein and is available via New
       York State Courts Electronic Filing (“NYSCEF”), LaFia v.
       New York City et al, Index No. 152739/2020, Doc. No. 4,
       available at: https://bit.ly/3RJV8xK. That litigation was filed
       to obtain indemnification from NYC and the DOE from the
       litigation filed by Jeffrey Eustache. NYC and DOE were
       successful in defending this litigation.
36.    No General Municipal Law § 50-h hearing request was made.
37.    Plaintiff SHARON LAFIA has exhausted any
       available/potentially effective administrative remedies.
38.    On or about February 7, 2020, Plaintiff filed her complaint of
       discrimination with the New York State Division of Human
       Rights (“NYSDHR”) and it was cross-filed with the Equal
       Employment Opportunity Commission (“EEOC”); which is
       incorporated fully herein and is available via NYSCEF in
       LaFia v. New York City et al, Index No. 152739/2020, Doc. No.
       30, available at: https://bit.ly/3U7WCDo.
39.    A right to sue letter was issued on or about July 14, 2022 and
       is attached and incorporated in this Verified Complaint.
40.    Plaintiff timely commenced this action within ninety (90)
       days of that right to sue letter.
41.    Defendants refused to adjust the claim and more than ninety
       (90) days have passed.
42.    This complaint has been amended as a matter of right and
       prior to service.




                                     11
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 13 of 56




                                 PARTIES
43.    Plaintiff, SHARON LAFIA is a citizen of the United States is
       employed with NYC and DOE as a Special Education teacher.
44.    Plaintiff worked, without a blemish to her career, for over
       twenty (20) years at I.S. 171 Abraham Lincoln Intermediate
       School within District 19, Brooklyn, New York, (“I.S. 171)
       prior to the events complained of herein.
45.    At all times relevant in this Complaint, and upon information
       and belief, Defendant NEW YORK CITY, BOARD OF EDUCATION
       OF THE CITY SCHOOL DISTRICT OF THE CITY OF NEW YORK,
       A/K/A THE NEW YORK CITY DEPARTMENT OF EDUCATION AND
       THE NEW YORK CITY LAW DEPARTMENT, are recipients of
       federal funding and were recipients of federal funding at the
       time of the events complained of herein.
46.    NEW YORK CITY, is a municipal entity and part of the State of
       New York. See Official Website of the City of New York,
       About New York City Government, City of New York (last
       accessed on September 14, 2022), https://on.nyc.gov/3dfvnX9.
47.    BOARD OF EDUCATION OF THE CITY SCHOOL DISTRICT OF THE
       CITY OF NEW YORK, A/K/A THE NEW YORK CITY DEPARTMENT
       OF EDUCATION is a municipal entity responsible for the
       education of children within the City of New York together
       with the employment of LINDSAY CICILLINI and JEFFREY
       EUSTACHE along with Plaintiff SHARON LAFIA.
48.    NEW YORK CITY LAW DEPARTMENT is a municipal entity
       responsible for the defense of the Department of Education,
       DOE and NYC.




                                     12
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 14 of 56




49.    NEW YORK CITY LAW DEPARTMENT (“Law Dep’t.”) “represents
       the City, the Mayor, other elected officials, and the City's
       many agencies in all affirmative and defensive civil
       litigation…” and was responsible for the employment of
       ATTORNEY BRITTNEY JORDAN FINDER during the time
       of the illegal search of Plaintiff’s cellular phone. NYC, New
       York City Law Department, NYC Law Dep’t. (last accessed on
       September 14, 2022), https://on.nyc.gov/3QLqa75.
50.    FORMER NEW YORK CITY LAW DEPARTMENT
       ATTORNEY BRITTNEY JORDAN FINDER, (“Finder”) is
       sued in her individual and in her official capacity, worked for
       the Law Dep’t at the time she illegally obtained evidence from
       Plaintiff’s cellular phone without a warrant and, upon
       information and belief, maintains a registration number of
       5579149 and currently works for Epstein Becker & Green,
       P.C. (875 3rd Ave, New York, NY 10022-6225). See
       OPENGOVUS, Brittany Jordan Finder, (last accessed on
       September 14, 2022), https://bit.ly/3UhjfFQ.
51.    BOARD OF EDUCATION OF THE CITY SCHOOL DISTRICT OF THE
       CITY OF NEW YORK, A/K/A THE NEW YORK CITY DEPARTMENT
       OF EDUCATION and NEW YORK CITY LAW DEPARTMENT,
       FORMER NEW YORK CITY LAW DEPARTMENT ATTORNEY
       BRITTNEY JORDAN FINDER, in her individual and in her official
       capacity, are collectively referred to as “NYC Defendants.”
52.    JEFFREY EUSTACHE, sued in his individual and in his official
       capacity, is employed by NYC and DOE as a paraprofessional.
53.    Jeffrey Eustache (“Eustache”) still works at I.S. 171 Abraham
       Lincoln Intermediate School in Brooklyn, New York.




                                     13
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 15 of 56




54.    PRINCIPAL INDIRA MOTA (“Mota”) sued in her official capacity
       is the principal of I.S. 171 and was responsible for, among
       other things, the creation and maintaining a Hostile
       Education Environment for SHARON LAFIA.
55.    LINDSAY CICILLINI, (“CICILLINI”) sued in her official capacity,
       worked at I.S. 171 Abraham Lincoln Intermediate School in
       Brooklyn, New York.
56.    Defendants, individually and/or collectively, jointly and/or
       severally, knew and had reason to know that CICILLINI
       previously took coemployees phones, such as Plaintiff’s
       cellular phone, to engage in misconduct before was
       transferred out of I.S. 171.
57.    DOE, JEFFREY EUSTACHE, PRINCIPAL INDIRA MOTA and
       LINDSAY CICILLINI are collectively referred to herein as “DOE
       Defendants.”
58.    JOHN AND JANE DOES NOS. 1-10 are agents, assigns,
       employees within NYC or, more specifically, DOE or other
       persons that engaged, endorsed or were complicit (when each
       person had a duty to act or intervene) the illegal acts,
       discrimination, retaliation and constitutional violations
       suffered by PLAINTIFF SHARON LAFIA.
59.    Together NEW YORK CITY, BOARD OF EDUCATION OF
       THE CITY SCHOOL DISTRICT OF THE CITY OF NEW
       YORK, A/K/A THE NEW YORK CITY DEPARTMENT OF
       EDUCATION, JEFFREY EUSTACHE in his individual and
       in his official capacity, PRINCIPAL INDIRA MOTA, in her
       official capacity, LINDSAY CICILLINI, IN HER
       INDIVIDUAL AND IN HER OFFICIAL CAPACITY, NEW



                                     14
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 16 of 56




       YORK CITY LAW DEPARTMENT, FORMER NEW YORK
       CITY LAW DEPARTMENT ATTORNEY BRITTNEY
       JORDAN FINDER, IN HER INDIVIDUAL AND IN HER
       OFFICIAL CAPACITY, and JOHN AND JANE DOES NOS.
       1-10 are referred to as “Defendants.”
                                THE FACTS
60.    Plaintiff SHARON LAFIA was a tenured teacher employed by
       the New York City Department of Education at I.S. 171
       Abraham Lincoln District # 19 at 528 Ridgewood Avenue,
       Brooklyn, New York.
61.    Plaintiff SHARON LAFIA has over two decades of unblemished
       work experience with NYC and NYC DOE.
62.    Complaining Parents made complaints to Defendants, and
       were conveyed by Plaintiff SHARON LAFIA as a mandatory
       reporter for which PRINCIPAL INDIRA MOTA received.
63.    Defendants, individually and collectively, worked together to
       deprive Plaintiff of her constitutional rights, to intentionally
       discriminate and/or endorse intentional discrimination, while
       failing to address unlawful behavior having the duty to do so
       to prevent harm to SHARON LAFIA and the students of the
       Complaining Parents.
64.    Prior to being represented by independent counsel, SHARON
       LAFIA was purportedly represented by the United Federation
       of Teachers which collective bargaining representative
       simultaneously represented Defendant JEFFREY EUSTACHE.
65.    Defendants, individually and collectively, knew that Plaintiff
       did not engage in any wrongdoing or illegality, nor did
       Plaintiff engage in any behavior as alleged by Defendants
       NYC, its agents and employees, New York City, Board of


                                     15
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 17 of 56




       Education of the City School District of the City of New York,
       a/k/a The New York City Department of Education, JEFFREY
       EUSTACHE, PRINCIPAL INDIRA MOTA, LINDSAY CICILLINI, and
       NEW YORK CITY LAW DEPARTMENT, with FORMER NEW YORK
       CITY LAW DEPARTMENT ATTORNEY BRITTNEY JORDAN FINDER,
       ESQ. and John and Jane Does Nos. 1-10 or any of its
       respective agents or employees.
66.    Prior to the filing of her NYSDHR Complaint, Litigation Hold
       Notice, Freedom of Information Law (“FOIL”) Requests and
       her Notice of Claim against NYCDOE, the Ms. LaFia reported
       the behavior(s) of JEFFREY EUSTACHE and, through the means
       as set forth by her union and as set forth by the NYC/DOE.
67.    Plaintiff was required to report JEFFREY EUSTACHE insofar as
       his behavior towards children, tardiness and other matters
       were mandated by Defendants NYC, DOE and PRINCIPAL
       INDIRA MOTA.
68.    Defendants NYC, DOE and PRINCIPAL INDIRA MOTA knew
       that Complaining Parents complained about JEFFREY
       EUSTACHE harassing and physically abusing children that
       were in Plaintiff’s classroom.
69.    Plaintiff describes this behavior in her affidavit submitted in
       New York City et al, Index No. 152739/2020, Doc. No. 3,
       available at: https://bit.ly/3qAh3LO, and incorporates the
       affidavit fully to this complaint as she was not responsible for
       JEFFREY EUSTACHE’s write ups. Id. at ¶¶ 4-7.
70.    JEFFREY EUSTACHE fabricated the allegations against
       Plaintiff to retaliate against her for her participation in and
       compliance with my employer’s various requests for



                                     16
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 18 of 56




       information regarding his conduct as a paraprofessional and
       his treatment of special education students. Id. at ¶¶ 12-20.
71.    Sharon LaFia reported not only discrimination and
       retaliation at the hands of I.S. 171 PRINCIPAL INDIRA MOTA
       and JEFFREY EUSTACHE (who filed a 2.5 Million dollar lawsuit
       against her in 2019 1) but the physical threats, assault and
       physical abuse of the children by JEFFREY EUSTACHE and
       reported to her by Complaining Parents for whom she was
       responsible as a mandated reporter.
72.    NYC/NYC DOE Defendants allegedly accepted service of
       process of Eustache v. Board of Education et al, id., on behalf
       of SHARON LAFIA.
73.    After NYC/NYC DOE Defendants claimed they represented
       SHARON LAFIA, NYC, Law Dep’t and Defendant Finder did
       copy Plaintiff’s cellular phone before stating she would not
       represent Plaintiff SHARON LAFIA.
74.    NYC, Law Dep’t and Defendant Finder acted under color of
       state law when they approached SHARON LAFIA at her job
       during working hours.
75.    NYC, Law Dep’t and Defendant Finder stated that they
       represented NYC and DOE to SHARON LAFIA.
76.    As incorporated fully herein, New York City et al, Index No.
       152739/2020, Doc. No. 3, available at: https://bit.ly/3qAh3LO,
       ¶¶ 53-78, establishes that SHARON LAFIA was “never informed
       by Finder that the New York City Law Department would not


1Jeffrey Eustache v. Board of Education of the City School District of the City of New York et al,
Index No. 153619/2019, docket available at https://bit.ly/3xmuuTr, appeal not yet perfected under
Appellate Division, First Department, Docket No. 2022-01128, available at https://bit.ly/3BFnaF6.




                                                17
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 19 of 56




       be providing [SHARON LAFIA] with legal representation with
       respect to Eustache’s civil suit.”
77.    Starting February 2018 and continuing to date, Plaintiff was
       then wrongfully targeted on the basis of her color/race, sex
       and/or gender, summarily punished, subject to false
       complaints, including but not limited to a purported
       investigation without legal justification, by, inter alia, NYC
       and DOE, as discussed in Plaintiff’s complaint filed in the
       NYSDHR and incorporated fully herein. See supra, ¶ 25.
78.    False complaints were filed by JEFFREY EUSTACHE against
       Plaintiff.
79.    Upon information and belief, LINDSAY CICILLINI, who was also
       named in these complaints, conspired with JEFFREY
       EUSTACHE and PRINCIPAL INDIRA MOTA to harm Plaintiff
       while benefiting themselves.
80.    NYC, NYC Law Dep’t. and Finder, upon information and
       belief, did work with LINDSAY CICILLINI and PRINCIPAL INDIRA
       MOTA, among others, to inculpate Plaintiff SHARON LAFIA in
       the lawsuit filed by JEFFREY EUSTACHE while simultaneously
       exonerate DOE, LINDSAY CICILLINI and PRINCIPAL INDIRA
       MOTA.
81.    Defendants attempted to make Plaintiff SHARON LAFIA the
       scapegoat in the litigation filed by JEFFREY EUSTACHE.
82.    LINDSAY CICILLINI who was known to have taken other I.S.
       171 employees’ phones, made inappropriate and sexually
       harassing comments to JEFFREY EUSTACHE using Plaintiff’s
       phone. See New York City et al, Index No. 152739/2020, Doc.
       No. 3, available at: https://bit.ly/3qAh3LO, ¶¶ 31-32, 68


                                     18
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 20 of 56




83.    Knowing this, NYC, DOE and PRINCIPAL INDIRA MOTA used
       evidence and testimony it knew and had reason to know was
       false against Plaintiff to create charges and allegations
       against her that would stifle her career and subject her to
       formal charges as a tenured teacher on the basis of her
       sex/gender, race, color and national origin.
84.    NYC, DOE and PRINCIPAL INDIRA MOTA knew and had reason
       to know Plaintiff did not engage in any wrongdoing but that
       JEFFREY EUSTACHE used Plaintiff to shield himself from his
       wrongdoings, which included harming students, viewing
       pornographic material at school and tardiness.
85.    NYC, DOE and PRINCIPAL INDIRA MOTA knew and had reason
       to know Plaintiff stated that CICILLINI created text messages
       to JEFFREY EUSTACHE and that Plaintiff never gave CICILLINI
       permission to harass or sexually harass Mr. Eustache as per
       her Notice of Claim, incorporated fully herein. See supra ¶ 22.
86.    NYC, DOE, NYC Law Dep’t. and PRINCIPAL INDIRA MOTA
       knew and had reason to know Plaintiff was the victim of a
       fraud perpetrated by CICILLINI, JEFFREY EUSTACHE and,
       perhaps others.
87.    Plaintiff SHARON LAFIA undertook herculean efforts to seek to
       clear her name for which she provided sworn statements in
       New York City et al, Index No. 152739/2020, Doc. No. 3,
       available at: https://bit.ly/3qAh3LO, that are incorporated
       fully herein.
88.    Plaintiff cooperated with NYC and DOE at every stage of
       their purported investigation and was repeatedly assured by
       NYC and DOE, by and through PRINCIPAL INDIRA MOTA not to



                                     19
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 21 of 56




       worry about Defendant JEFFREY EUSTACHE’s lawsuit or her
       representation in the same throughout 2018.
89.    PRINCIPAL INDIRA MOTA provided false assurances to Plaintiff
       all the while creating and maintaining a Hostile Education
       Environment where Plaintiff would continue to be subject to
       harassment.
90.    PRINCIPAL INDIRA MOTA provided false assurances to
       Complaining Parents who had students in Plaintiff’s
       classroom all the while creating and maintaining a Hostile
       Education environment.
91.    For example, although Plaintiff reported she was in fear of
       JEFFREY EUSTACHE due to violence, false allegations and a
       lawsuit filed against her, on or about December 2, 2019,
       PRINCIPAL INDIRA MOTA required Plaintiff to meet with her on
       or about December 4, 2019, to state she was insubordinate
       because she refused to go on a school trip with JEFFREY
       EUSTACHE.
92.    After she claimed Plaintiff harassed JEFFREY EUSTACHE,
       PRINCIPAL INDIRA MOTA required Plaintiff to be in the same
       classroom with JEFFREY EUSTACHE.
93.    On or about December 6, 2019, PRINCIPAL INDIRA MOTA made
       another allegation of professional misconduct against me
       stating that Plaintiff was harassing JEFFREY EUSTACHE after
       Plaintiff reported that she felt uncomfortable being placed in
       the same class as him, was the subject of false complaints, a
       multimillion dollar lawsuit, and that Complaining Parents
       were ignored concerning JEFFREY EUSTACHE’s harassment of
       students, their children..



                                     20
      Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 22 of 56




94.    After she claimed Plaintiff harassed JEFFREY EUSTACHE,
       PRINCIPAL INDIRA MOTA still required Plaintiff to be in the
       same classroom with JEFFREY EUSTACHE to create and foster
       a Hostile Education and Hostile Work Environment.
95.    Plaintiff sought to remove herself from JEFFREY EUSTACHE
       yet PRINCIPAL INDIRA MOTA still required Plaintiff to be in the
       same classroom with JEFFREY EUSTACHE although Plaintiff
       said she was uncomfortable around him, that she had panic
       attacks and high anxiety because of him.
96.    On or about November 15, 2019, Plaintiff was forced to leave
       work early to see her doctor who advised her to stay out some
       days and sent a doctor’s note to PRINCIPAL INDIRA MOTA.
97.    PRINCIPAL INDIRA MOTA ignored Plaintiff’s medical condition
       and Plaintiff’s specialist, Doctor Tufano, had typed a letter for
       her to present to PRINCIPAL INDIRA MOTA.
98.    Plaintiff provided proof that she was unable to commit the
       offenses of which she was initially accused, explaining that
       she was driving when another co-teacher had access to her
       cellular phone, mobile device, Defendant LINDSAY CICILLINI.
99.    Rather than punish, admonish or conduct a fair and impartial
       investigation Defendants did continue to investigate, punish,
       admonish and transfer SHARON LAFIA, a white-female teacher
       while failing to punish Defendant JEFFREY EUSTACHE, a black
       male with , among other things, parent allegations against
       him.
100. PRINCIPAL INDIRA MOTA did, in response to Plaintiff’s
     complaints, retaliate against Plaintiff.




                                     21
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 23 of 56




101. On or about December 17, 2019, Plaintiff was denied her first
     step grievance for PRINCIPAL INDIRA MOTA filing false
     allegations.
102. Plaintiff was forced to file a step 2 grievance and PRINCIPAL
     INDIRA MOTA had forced Plaintiff to be excused from the
     meeting when PRINCIPAL INDIRA MOTA was questioned about
     where she submitted these complaints concerning JEFFREY
     EUSTACHE.
103. Eventually, on Jan. 6, 2020, Plaintiff succeeded in her
     grievance and the false, defamatory and maliciously filed
     charges by PRINCIPAL INDIRA MOTA were removed from
     Plaintiff’s work file.
104. In tandem to these events, NYC Defendants and Law Dep’t
     claim and represent in Eustache v. City of New York, et al.,
     Index No. 153619/2019 that JEFFREY EUSTACHE was
     responsible for a great many wrongdoings in response to his
     civil lawsuit yet failed to indemnify Plaintiff SHARON LAFIA,
     or provide fair representation of her without conflict or
     represent to claimant their true interests.
105. NYC Defendants claimed to accept service on behalf of
     Plaintiff but claim later that they did not represent her.
106. NYC Defendants withheld the lawsuit from Plaintiff and
     purported to represent her interests as statutorily required.
107. From the copying of the Plaintiff’s cellular phone to the
     failure to allow for service and representation of Claimant,
     NYC and Law Dep’t’s collective actions were taken to harm
     and damage Plaintiff in furtherance of discrimination and




                                   22
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 24 of 56




     maintenance of a hostile education environment and a hostile
     work environment.
108. Plaintiff is a white female teacher who was not treated
     similar to other teachers on the basis of her race, color, sex
     and/or gender.
109. Defendants NEW YORK CITY, BOARD OF EDUCATION OF THE
     CITY SCHOOL DISTRICT OF THE CITY OF NEW YORK, A/K/A THE
     NEW YORK CITY DEPARTMENT OF EDUCATION, AND PRINCIPAL
     INDIRA MOTA continued to place Plaintiff in a hostile working
     and educational environment by continuing to place in her
     classroom her false accuser, Defendant JEFFREY EUSTACHE, a
     much larger black/African American male who engaged in
     physical violence with special education students knowing
     and having reason to know that complaints existed from
     parents, students, teachers and others against JEFFREY
     EUSTACHE.
110. Plaintiff did make complaints that JEFFREY EUSTACHE was
     retaliating against her, discriminating against her and in
     response to those complaints, Defendant PRINCIPAL INDIRA
     MOTA did continue to punish Plaintiff and retaliate against
     her.
111. Plaintiff was defamed, stigmatized and her ability to apply for
     educational benefits, advancement, was hampered by the
     false allegations made by Defendant JEFFREY EUSTACHE.
112. Plaintiff was threatened with termination and the subject of
     several false write-ups over the two months that followed her
     complaints of mistreatment to NYC, DOE and Mota.




                                   23
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 25 of 56




113. A grievance was filed by Plaintiff over misconduct by Mota
     and resolved in Plaintiff’s favor before Plaintiff was removed
     from I.S. 171.
114. Complaining Parents were summarily ignored and overlooked
     by the alleged investigation conducted by NYC, NYC DOE
     and Mota into alleged discrimination, sexual harassment,
     retaliation and misconduct by persons working for NYC DOE.
115. In response, ignoring Plaintiff and Complaining Parents,
     Defendants, individually and collectively, did maliciously
     create, pursue, charge and issue process related to false
     allegations against Plaintiff.
116. There was no basis for the Defendants, filing the following
     charges, specifications against Plaintiff:
          “Sharon LaFia …under File #0752503, is a tenured
          teacher assigned to Abraham Lincoln Intermediate
          School (I.S. 171) within District 19. During the 2018-
          2019 school year, Respondent engaged in sexual
          misconduct, harassment, racial discrimination, sexual
          harassment, inappropriate comments, and conduct
          unbecoming her position as follows:

          SPECIFICATION 1: On or about February 2018,
          Respondent sent a text message
          to paraprofessional Jeffrey Eustache stating in sum and
          substance that she and Mr.
          Eustache could have sex and/or engage in other acts of a
          sexual nature.

          SPECIFICATION 2: On or about March 2018,
          Respondent sent a text message to
          paraprofessional Jeffrey Eustache, an African American
          man asking in sum and
          substance is your penis big.




                                    24
Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 26 of 56




      SPECIFICATION 3: On or about March 2018,
      Respondent sent a text message to
      paraprofessional Jeffrey Eustache stating in sum and
      substance:
      (A) My black lover, who was here today.
      (B) What the hell you're flirting with black man.

      SPECIFICATION 4: On or about and between March
      2018 and April 2018,
      Respondent stated to paraprofessional Jeffrey Eustache
      in sum and substance:
      (A) My son thinks he's black.
      (B) My son is out of control.
      (C) My son smokes pot.
      (D) My son's pants hang low.

      SPECIFICATION 5: On or about and between March
      2018 and April 2018,
      Respondent asked paraprofessional Jeffrey Eustache in
      sum and substance in the
      presence of students to share with the class his stories
      on how tough it was growing up
      being poor and/or on food stamps.

      SPECIFICATION 6: On or about and between March
      2018 and April 2018,
      Respondent attempted to sit on and/or touched
      paraprofessional Jeffrey Eustache's lap
      during class in the presence of students causing students
      to laugh.

      SPECIFICATION 7: As a result of some or all of the
      misconduct described in Specifications 1-6, Respondent
      created a hostile, offensive and/or intimidating working
      environment.
      The foregoing constitutes:
      - Just cause for discipline under Education Law §3020-
         a;
      - Sexual misconduct;
      - Conduct unbecoming Respondent's position or
         conduct prejudicial to the good order, efficiency, or
         discipline of the service;



                                 25
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 27 of 56




          -   A violation of the by-laws, rules and regulations of the
              Chancellor, Department, School and/or District;
          -   Sexual harassment;
          -   Harassment;
          -   Misconduct;
          -   Racial discrimination;
          -   Inappropriate comments;
          -   Substantial cause that renders Respondent unfit to
              perform his obligations properly to the service; and
          -   Just cause for termination.”

117. Defendants, individually and collectively, sought to terminate
     Plaintiff albeit this was the first instance of misconduct.
118. Plaintiff, after filing a Litigation Hold Notice, FOIL Requests
     and a NYSDHR complaint, received these charges.
119. After Plaintiff instructed Complaining Parents to speak to
     PRINCIPAL INDIRA MOTA were such charges brought.
120. Plaintiff, after filing a Litigation Hold Notice, FOIL Requests
     and a NYSDHR complaint, winning her grievance and
     complaining that PRINCIPAL INDIRA MOTA kept JEFFREY
     EUSTACHE in her class after she suffered panic attacks,
     Plaintiff was transferred out of I.S. 171, a clear act of
     retaliation.
121. The Plaintiff was defamed by NEW YORK CITY, its agents
     and employees, BOARD OF EDUCATION OF THE CITY
     SCHOOL DISTRICT OF THE CITY OF NEW YORK, A/K/A
     THE NEW YORK CITY DEPARTMENT OF EDUCATION,
     its agents and employees, JOHN AND JANE DOES # 1-10,
122. That by reason of the actions of the Defendants, individually
     and/or collectively, jointly and/or severally, Plaintiff SHARON
     LAFIA was deprived of her ability to maintain her


                                      26
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 28 of 56




     employment, advance in her career, cope with the pending
     false allegations, and obtain indemnification, fair and conflict
     free representation, all of which impacted her ability to earn
     income.
123. Defendants NYC, Law Dep’t. and Finder subjected Plaintiff to
     invasive examinations (Riley v. California, 134 S. Ct. 2473,
     573 U.S. 373, 189 L. Ed. 2d 430 (2014)) causing her
     significant emotional distress by violating her right to be free
     from, among other things, unlawful search and seizure.
124. Plaintiff was seized at her place of employment, charged with
     false allegations, and forced to endure continuous
     interrogations and bias investigations at the hands of the
     Defendants.
125. As a result of actions by Defendants, individually and/or
     collectively, jointly and/or severally, Plaintiff has been forced
     to obtain medical care and treatment.
126. Defendants NYC Defendants and DOE Defendants its agents
     and employees, made the foregoing accusations knowing or
     having reason to know that no probable cause existed against
     the Plaintiff and that such allegations were defamatory and
     slanderous.
127. Defendants knew that Defendant JEFFREY EUSTACHE created
     the complaint against Plaintiff only after he was subject to
     various accusations of misconduct by parents and others.
128. Defendants, all of them, knew and had reason to know that no
     probable cause existed for the charges proferred against the
     Plaintiff, and, thereafter, became aware that no probable
     cause existed for continued prosecution.


                                   27
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 29 of 56




129. Nevertheless, Defendants continued to prosecute Plaintiff
     under New York Education Law § 3020-a and, as a result
     claimant suffered through the continued hardship and
     humiliation of defending herself in both Court and
     administratively which caused and is causing Plaintiff great
     emotional distress.
130. Plaintiff submits that these proceedings were commenced
     with malice and, upon information and belief, against the
     Plaintiff on, inter alia, the basis of her color, race and/or
     sex/gender rather than address the legitimate concerns of
     staff and Complaining Parents.
131. Defendant JEFFREY EUSTACHE, a black male, did not suffer
     transfer after allegations of physical violence against special
     education students were made by Complaining Parents
     against Defendant JEFFREY EUSTACHE.
132. Defendant JEFFREY EUSTACHE, a black male, did not suffer
     transfer or 3020-a charges after allegations were made that
     he was viewing pornography while working in a special needs
     classroom.
133. Defendant JEFFREY EUSTACHE, a black male, did not suffer
     transfer or 3020-a charges after allegations were made that
     he came in smelling of marijuana and continued to use
     multiple phones in the classroom.
134. New York City et al, Index No. 152739/2020, Doc. No. 3,
     available at: https://bit.ly/3qAh3LO, establishes that Plaintiff
     was not responsible for JEFFREY EUSTACHE’s write ups. Id. at
     ¶¶ 4-7.




                                   28
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 30 of 56




135. Plaintiff was treated poorly, subject to retaliation and
     discrimination at the insistence of Defendant JEFFREY
     EUSTACHE and with the cooperation of NYC and DOE
     Defendants who used Defendant JEFFREY EUSTACHE’s false
     allegations to further punish Plaintiff, a white female teacher.

         PREFERENTIAL TREATMENT ON THE BASIS OF
               SEX/GENDER AND/OR RACE/COLOR
136. Plaintiff is a white female special education teacher.
137. Plaintiff made complaints about Defendant JEFFREY
     EUSTACHE’S behavior, complaints substantiated by several
     parents, and for whom parents of her students spoke out to
     Defendant Mota about Defendant JEFFREY EUSTACHE’S
     physical altercations with special education students.
138. These complaints, almost all by parents, accumulated
     throughout 2018 up and until today.
139. Since Defendant JEFFREY EUSTACHE started working for the
     NYC/DOE, Plaintiff and others were required to document
     Mr. Eustache’s work transgressions of phone usage, leaving
     the room unattended, absence and not following directions.
140. Defendant Mota knew of EUSTACHE’S behavior yet did not
     reprimand him for absences, but did reprimand Ms. LaFia
     albeit LaFia had doctor’s notes for her absences.
141. As Plaintiff sought disciplinary records through FOIL,
     Plaintiff reported to Mota that Defendant JEFFREY
     EUSTACHE’S behavior transcended minor transgressions yet
     Defendant Mota refused to investigate Defendant JEFFREY
     EUSTACHE, a black/African American male, and proceeded to
     cover-up his wrongdoings and harm Plaintiff SHARON LAFIA,


                                   29
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 31 of 56




     a white/Caucasian female, while allowing Defendant JEFFREY
     EUSTACHE to, among other things, physically threaten special
     education students at I.S. 171.
142. Parents complained to Ms. Mota about Defendant JEFFREY
     EUSTACHE.
143. Ms. LaFia complained of discrimination, retaliation and
     reported harassment and bullying of children in 2018, 2019
     and well before the filing of her complaint of discrimination
     and retaliation with the NYSDHR.
144. Parents of children, too, made complaints to NYC/DOE and
     Defendant Mota on Plaintiff’s behalf.
145. Plaintiff confirmed what these parents were saying –
     preferential treatment, harassment and discrimination
     against Plaintiff for doing her job by NYC and DOE
146. NYC and DOE ignored the verbal complaints, memorialized
     by Mota and Plaintiff’s union, and written complaints which
     not only shows the lengths to which NYCDOE and Defendant
     Mota went to protect Defendant JEFFREY EUSTACHE, a
     black/African American male in order to remove
     white/Caucasian CICILLINI and Ms. LAFIA.
147. Ms. LaFia worked for the NYCDOE over twenty years and
     was purportedly represented by the United Federation of
     Teachers (“UFT”) to which she had paid dues continuously
     throughout that period.
148. Nevertheless, the UFT also and simultaneously represented
     Defendants JEFFREY EUSTACHE, PRINCIPAL INDIRA MOTA,
     and/or LINDSAY CICILLINI when Defendant JEFFREY
     EUSTACHE purportedly filed a notice of claim and lawsuit


                                   30
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 32 of 56




     against Ms. LaFia in 2019. See Jeffrey Eustache v. Sharon
     Lafia & NYC BOE, NY Supreme Ct, Index No. 153619/2019.
149. With the significant number of students, parents and
     teachers complaining about Defendant JEFFREY EUSTACHE,
     together with the various reprimands and reasons that
     Defendants gave in support of their motion to dismiss Mr.
     Eustache’s lawsuit (id. at NYCEF Doc No. 8), NYC and DOE
     cannot claim ignorance of those complaints.
150. Prior to November, 2019, Plaintiff made complaints to Mota
     in the presence of UFT representatives that she was being
     harassed, discriminated against and suffering retaliation for
     reporting Defendant JEFFREY EUSTACHE.
151. Plaintiff complained of a Hostile Education/Work
     Environment.
152. Complaining Parents submitted complaints that their
     children were subject to harassment and physical violence.
153. Plaintiff stated to Defendant Mota that there was an open
     lawsuit and that she should not be placed with this larger,
     aggressive, man who accused her of sexual harassment.
     Nevertheless, Defendant Mota placed Defendant JEFFREY
     EUSTACHE back in Ms. LaFia’s classroom.
154. Plaintiff complained to Defendant DOE, Mota and others she
     was being retaliated against for, inter alia, her cooperation in
     an investigation of Mr. Eustache as soon as Mr. Eustache was
     placed back in her classroom. At that time, Defendant
     Eustache was maintaining a 2.5 million dollar lawsuit against
     Ms. LaFia.




                                   31
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 33 of 56




155. In response to placing Defendant JEFFREY EUSTACHE back
     into Plaintiff’s classroom, after all the above allegations,
     Defendant Mota stated, in response, that she could not
     accommodate Plaintiff SHARON LAFIA.

          RETALIATION AGAINST LAFIA AND PLACING
          JEFFREY EUSTACHE BACK IN HER CLASSROOM
             WHEN HE FILED A 2.5 MILLION DOLLAR
               LAWSUIT AGAINST SHARON LAFIA
156. Ms. LaFia stated unequivocally, in the months leading up to
     the string of write-ups that Ms. Mota manufactured in the
     last months of 2019 that she was the subject of retaliation for
     complaining and demanding explanations for her differential
     treatment as to Defendant EUSTACHE.
157. When Defendant JEFFREY EUSTACHE was placed in Plaintiff’s
     class room, LAFIA told Mota that Defendant JEFFREY
     EUSTACHE was previously in an “ICT” class and that Eustache
     should not have further opportunity to defame, slander and
     hurt Plaintiff who was simply doing her job: reporting
     misconduct and the abuse of special education children.
158. In addition to stating to Defendant Mota that she was being
     harassed and falsely accused, Plaintiff stated to Mota that
     she felt unsafe, discriminated against, intimated physically
     and verbally by threats of removal and being terminated after
     over twenty years of working without a single complaint. Ms.
     Mota ignored Ms. LaFia’s pleas.
159. As soon as Ms. LaFia became aware that Principal Indira
     Mota was ignoring her complaints of discrimination,
     retaliation and mandatory reporting requirements as to
     Jeffrey Eustache, grievances were filed by the Union and the



                                   32
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 34 of 56




     Notice of Claim memorialized the 90 days and two years
     previous where NYC and DOE individually and through
     PRINCIPAL INDIRA MOTA served several false allegations,
     notices of discipline and refusal to accept Ms. LaFia’s formal
     charges of discrimination and retaliation.
160. After a litigation hold notice was filed by SHARON LAFIA,
     Defendant Mota responded with write-ups.
161. As Plaintiff became increasingly vocal in her complaints, Ms.
     Mota responded by escalating the write-ups that culminated
     in the threat of removal and institution of formal charges
     against Plaintiff.
162. Ms. Mota removed Plaintiff from I.S. 171, interfered with her
     opportunities to earn additional income, attend seminars, and
     advance her career.
163. When Plaintiff complained of discrimination, Defendant Mota
     covered it up.
164. When Complaining Parents complained of harassment,
     physical abuse and various other grievances against JEFFREY
     EUSTACHE Plaintiff, not the perpetrator of these acts, would
     be subject to false discipline, write-ups, and placed in
     uncomfortable if not physically threatening conditions in the
     workplace.
165. Plaintiff was not seeking an accommodation – she was
     complaining of discrimination and retaliation.
166. NYC DOE and Defendant Mota stood by while the inherent
     conflict of interest existed in UFT.




                                   33
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 35 of 56




167. NYC, DOE and Mota claim complete ignorance to any claim of
     discrimination in both Plaintiff and, ironically, Defendant
     JEFFREY EUSTACHE complaints over placing both of them in
     the same classroom during the pendency of Defendant
     JEFFREY EUSTACHE’S lawsuit.
168. Defendant Mota ignored the fact that Plaintiff was forced to
     take-off sick, an adverse employment action when Defendant
     Mota placed Defendant Eustache in Ms. LaFia’s classroom.

     RETALIATION AND PRETEXT: PLAINTIFF’S HEARING
             AND DUE PROCESS DEPRIVATIONS
169. Plaintiff is a white/Caucasian female who was not treated
     similar to other employees, particularly Defendant JEFFREY
     EUSTACHE, on the basis of her race, color, sex and/or gender.
170. NYCDOE individually and through Principal Indira Mota
     continued to place Ms. LaFia in a Hostile Working
     Environment and created a Hostile Educational
     Environment; to wit, Plaintiff was placed with her false
     accuser, Defendant Eustache, a much larger black/African
     American male who engaged in physical violence with special
     education students knowing and having reason to know that
     complaints existed from parents, students, teachers.
171. Rather than discipline Defendant JEFFREY EUSTACHE, a
     paraprofessional,. Mota focused her efforts on removing
     Plaintiff LaFia, pursuing the false charges to a hearing where
     Plaintiff was denied access to exculpatory evidence.
172. NYC Defendants and DOE Defendants sought to terminate
     Plaintiff based on the above specifications in NYCDOE v.
     LaFia SED No. 36157 3020-a yet did not seek any similar



                                   34
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 36 of 56




     discipline for Defendant JEFFREY EUSTACHE for the various
     transgressions Defendants admit occurred including physical
     violence towards special education students thus, evidencing
     both preferential treatment for Defendant Eustace and
     discrimination against Plaintiff LaFia on the basis of race,
     color, sex/gender.
173. Plaintiff complained of the discrimination, harassment, and
     bullying by Defendant JEFFREY EUSTACHE and Defendant
     Mota and NYC/DOE filed false sexual harassment charges
     after Ms. LaFia complained, filed Litigation Hold Notices and
     Freedom of Information Law Requests.
174. NYCDOE is withholding records that would exonerate Ms.
     LaFia. See Trawinski v. Jabir & Farag Props., LLC, 154
     A.D.3d 991 (2d Dept. 2017).
175. Once the above notice of claim was filed, Plaintiff was quickly
     removed from her position at I.S. 171 together with all
     opportunity for meaningful advancement after twenty years
     of dedicated service.
176. The NYC DOE findings and write-ups that preceded
     Plaintiff’s removal are pretextual and retaliatory.
177. Plaintiff was forced to undergo a hearing where she was
     denied access to important evidence and where the findings
     were based on false evidence, demonstrably false testimony
     and without the opportunity to review or challenge the
     purported finding that Plaintiff sent text messages when she
     did not.
178. NYC and DOE continues to refuse to provide records or
     information to Ms. LaFia to which she is entitled while the


                                   35
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 37 of 56




     same Defendants manage to produce self serving records to
     defend itself in the following lawsuits that occur out of
     essentially the same facts:
          - LaFia v. City of New York, NY Supreme Ct, Index No.
            152739/2020;
          - NYSDHR Complaint 10206338 Sharon E. Lafia v City
            of New York, Department of Education;
          - Plaintiff’s EEOC Cross-filed Complaint; and
          - Jeffrey Eustache v. Sharon Lafia & NYC BOE, NY
            Supreme Ct, Index No. 153619/2019.
179. After the abovementioned hearing, a length decision issued
     with findings of fact that were based on false testimony, false
     evidence and the inability of Plaintiff to have an in person
     hearing to wit:
180. Witnesses in NYCDOE v. LaFia SED No. 36157 3020-a were,
     upon information and belief, coached if not guided to ensure
     that Plaintiff would be found guilty of false charges.
181. Plaintiff was forced to comply with a virtual hearing, spread
     over months and multiple days that did violate Plaintiff’s
     substantive and procedural due process rights.
182. As a result of the hearing, Plaintiff was found guilty of some
     specifications but not terminated from her post.
183. Plaintiff suffered adverse employment actions not limited to
     pecuniary emoluments, removal from I.S. 171, the inability to
     obtain overtime hours, advance in her career or remove
     herself from the Hostile Education Environment in which she
     was placed.



                                   36
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 38 of 56




184. Plaintiff suffered materially adverse change in the terms and
     conditions of employment on the basis of her race, color,
     sex/gender especially when compared with Defendant
     JEFFREY EUSTACHE.
185. Plaintiff was threatened and Defendants sought a
     termination of employment.
186. Plaintiff suffered demotions, a less distinguished title, a
     material loss of benefits and is, currently, being placed out of
     her job function, a special education teacher, after over two
     decades of distinguished service.
      THE CONTINUED PERSECUTION OF SHARON LAFIA
187. After being placed in the infamous NYC DOE “rubber room”,
     Plaintiff was told she would eventually return to I.S. 171, but
     that was not true.
188. NYC and DOE continued to punish Plaintiff in the failure to
     provide her appropriate placement or honor her requests or
     complaints against Defendant JEFFREY EUSTACHE that were
     uncovered and confirmed in NYCDOE v. LaFia SED No.
     36157 3020-a by sworn testimony.
189. Plaintiff, as of late, made clear to her employers NYC and
     DOE, that her daughter was suffering from a debilitating
     cancer and that she needed to exercise her rights under New
     York State/New York City and Federal Family Medical Leave
     Act (collectively referred to herein as “FMLA”).
190. Plaintiff’s request for FMLA was ignored.
191. When Plaintiff claimed she was being treated worse than
     male employees, Plaintiff was then told by NYC and DOE



                                   37
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 39 of 56




     Defendants that she would be forced to comply with a
     placement.
192. Plaintiff suffered and continued to suffer in a Hostile
     Education Environment first created by Defendant Mota and
     continued by Defendants, individually and collectively.
193. After Plaintiff complained of FMLA discrimination, NYC and
     DOE did then state that Plaintiff’s placement would not be in
     I.S. 171 but would be in another neighborhood.
194. After Plaintiff complained of FMLA discrimination, NYC and
     DOE did then state that Plaintiff’s placement would not be as
     a special education teacher but would an out-of-title and thus
     diminished position.
195. All the while, Defendant MOTA and Defendant EUSTACHE
     remain at I.S. 171 while Plaintiff LaFia, a tenured white,
     female teacher has been removed from her post at the school.

        42 U.S.C. §§ 2000A, 2000-D: CIVIL RIGHTS ACT
          TITLE VI, HOSTILE EDUCATION ENVIRONMENT
               AND HOSTILE WORK ENVIRONMENT
196. Plaintiff SHARON LAFIA complained that Defendant JEFFREY
     EUSTACHE’s conduct, behavior and physical aggression
     towards special education students was so egregiously
     outrageous and profoundly threatening as to establish prima
     facie severe and discriminatory harassment.
197. The failure of Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the effects of Defendant JEFFREY EUSTACHE’s conduct
     evidences the preferential treatment of for black males over
     female white teachers, such as the Plaintiff.



                                   38
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 40 of 56




198. The failure of Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the effects of Defendant JEFFREY EUSTACHE’s physical
     aggression show the lengths Defendants, individually and
     collectively, went to harm Plaintiff, a white/female tenured
     teacher without any disciplinary history and shield Defendant
     EUSTACHE from wrongdoing albeit DOE and Defendant Mota
     are required to report such wrongdoings by law.
199. The failure of Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the Hostile Education and Hostile Work Environment
     evidence that discrimination was intentional.
200. Discrimination was a substantial or motivating factor for the
     failure of the Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the effects of DOE Defendants upon the civil rights and
     liberty interests of Plaintiff Sharon LaFia.
201. Defendants, individually and/or collectively, jointly and/or
     severally, by their failure to take action to prevent or
     remediate or address Plaintiff SHARON LAFIA’S complaints or
     Defendant JEFFREY EUSTACHE’s behavior endorsed and
     ignored by Defendant Mota have created a racially
     discriminatory environment and school environment hostile
     to the special education students taught by Plaintiff LaFia.
202. Defendant NYC and NYC DOE has demonstrated and
     continues to demonstrate patterns of racial/ethnic
     disproportionality in disciplinary actions in I.S. 171 and, upon
     information and belief, other schools.



                                   39
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 41 of 56




203. That the Defendants, individually and/or collectively, jointly
     and/or severally, were deliberately indifferent to the
     harassment, retaliation, discrimination against and
     complaints by Plaintiff LaFia.
204. That the attack upon the civil rights and liberty interests of
     Plaintiff SHARON LAFIA was so egregiously outrageous and
     profoundly threatening as to establish prima facie severe and
     discriminatory harassment.
205. The failure of Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the effects of the various civil rights violations and false
     accusations resulting in defamatory stigma to Plaintiff
     SHARON LAFIA has created a profoundly discriminatory work
     environment for Plaintiff Sharon LaFia and a hostile
     educational environment for the special education students
     shew teaches.
206. The failure of Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the effects of the Hostile Work/Education Environment,
     physical and mental threats, abuse of process and threats of
     process, deprived the Plaintiff of a work environment free of
     discrimination and retaliation and her students access to the
     educational opportunities or benefits of NYC and NYC DOE.
207. The failure of Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the effects of the attack upon the civil rights and liberty
     interests of Plaintiff Sharon LaFia clearly evidences
     discrimination against her on the basis of race, gender and



                                   40
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 42 of 56




     sex, that discrimination was intentional, and that the
     discrimination was a substantial or motivating factor for the
     failure of the Defendants, individually and/or collectively,
     jointly and/or severally, to take action to prevent or remediate
     the effects of attack upon the civil rights and liberty interests
     of Plaintiff, her students and her co-workers.
208. Defendants, individually and/or collectively, jointly and/or
     severally, by their failure to take action to prevent or
     remediate the attack upon the civil rights and liberty
     interests of Plaintiff SHARON LAFIA, have created a racially
     discriminatory environment and school environment hostile
     to a white, Caucasian female persons such as Plaintiff
     SHARON LAFIA, and which effectively deprived her of the
     ability to teach her students, obtain advancements in her
     career, and be free of an work/education environment riddled
     with threats, aggression, discrimination and retaliation.
209. Defendants NYC and NYC DOE demonstrated and continues
     to demonstrate patterns of racial/ethnic disproportionality in
     disciplinary actions, and racial preferences and tolerance for
     illegal behaviors while minor transgressions by persons such
     as Sharon LaFia, a white/Caucasian, Female, employee are
     treated harshly, the accused discredited and deprived of
     meaningful access to union representation and counsel.
210. That by publicly claiming that it accepts any and all students
     without discrimination or segregation on the ground of race,
     color, religion, or national origin, Defendant DOE has
     assumed the status of a place of public accommodation subject
     to the provisions of 42 U.S.C.A. §2000a.




                                   41
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 43 of 56




            FAMILY MEDICAL LEAVE ACT (“FMLA”)
               DISCRIMINATION AND RETALIATION
(Family Medical Leave Act, 29 U.S.C. § 2601 et seq., and New York City
          Human Rights Law, N.Y.C. Admin. Code § 8-107(7). )
211. Plaintiff SHARON LAFIA is an eligible employee under the
     FMLA.
212. Defendant is an employer as defined by the FMLA.
213. Plaintiff SHARON LAFIA was entitled to take leave under the
     FMLA.
214. Plaintiff SHARON LAFIA gave notice to the defendant of her
     intention to take leave.
215. Plaintiff SHARON LAFIA was denied benefits to which [s]he
     was entitled under the FMLA.
216. On or about June 28, 2022, Plaintiff SHARON LAFIA received
     an email reassignment staff stating that she will be notified
     on where to report in September.
217. While, on or about, August 30, 2022, all the male
     reassignment teachers received an email where to report on
     September 1, 2022, Plaintiff SHARON LAFIA did not get any
     information.
218. Plaintiff SHARON LAFIA was reassigned albeit she was
     seeking FMLA due to high anxiety and dealing with her
     under age daughter diagnosed with cancer.
219. Plaintiff SHARON LAFIA‘s FMLA took three weeks to be
     approved.
220. Plaintiff complained and was treated differently than other
     similarly situated persons.




                                   42
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 44 of 56




221. Plaintiff SHARON LAFIA was treated differently than other
     male workers in that she had a family condition and required
     FMLA leave.
222. Plaintiff SHARON LAFIA was deprived of electronic mail
     notices, among other things, and suffered the loss of several
     compensated days because Defendants, individually and
     collectively, did refuse her the ability to go on FMLA leave.
223. Plaintiff SHARON LAFIA is a victim of FMLA retaliation.
224. Plaintiff SHARON LAFIA exercised rights protected under the
     FMLA, she was qualified for her position and suffered an
     adverse employment action that gave rise to circumstances
     giving rise to an inference of retaliatory intent.
225. Plaintiff exhausted all available means to her to obtain FMLA
     leave.
            JUDICIARY LAW, INVASION OF PRIVACY
             AND FOURTH AMENDMENT VIOLATIONS
226. Violations of the Judiciary Law occurred when NYC
     Defendants, specifically Brittney Jordan Finder on behalf of
     NYC, DOE and the New York City Law Department did
     demand Plaintiff’s personal cellular phone.
227. NYC Defendants, specifically Brittney Jordan Finder on
     behalf of NYC, DOE and the New York City Law Department
     did search through such cellular phone and obtain evidence
     without a warrant.
228. NYC Defendants, specifically Brittney Jordan Finder on
     behalf of NYC, DOE and the New York City Law Department
     did search through Plaintiff’s cellular phone and obtain
     evidence during working hours.


                                   43
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 45 of 56




229. NYC Defendants, specifically Brittney Jordan Finder on
     behalf of NYC, DOE and the New York City Law Department
     did violate Plaintiff’s rights and maintain a policy if not
     procedure of violating NYC employees’ constitutional rights,
     specifically the right to be free from unreasonable search and
     seizure during NYC working hours.
230. Plaintiff demanded that such information be subject the
     above-mentioned litigation hold notice and demanded the
     production of such evidence by Freedom of Information Law
     Request to no avail.
231. NYC Defendants, specifically NYC, DOE and the New York
     City Law Department hired Defendant Finder and instructed
     Defendant Finder, equipped with an information technology
     expert, to copy Plaintiff’s phone.
232. Defendants’ actions violated the constitutional right(s) of
     Plaintiff and gives rise to ongoing New York State Judiciary
     Law violations inclusive of:
233. NYC Defendants, specifically Brittney Jordan Finder on
     behalf of NYC, DOE and the New York City Law Department
     did engage in constitutional violations and knew that the
     illegal obtaining of evidence and inability for Plaintiff to
     challenge the purported evidence would be utilized against
     her and resulted in, among other things, the due process
     violations discussed above and evidences in NYCDOE v.
     LaFia SED No. 36157 3020-a.
234. Defendants, jointly and severally, individually and
     collectively to inculpate Plaintiff, move Cicillini out of I.S. 171
     and allow Plaintiff to suffer the various violations discussed



                                   44
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 46 of 56




     above (together with the Hostile Education Environment,
     placing the false accuser black her classroom) in refusing her
     evidence or allowing her to access the alleged phone records
     used against her in NYCDOE v. LaFia SED No. 36157 3020-
     a. See New York City et al, Index No. 152739/2020, Doc. No. 3,
     available at: https://bit.ly/3qAh3LO, ¶¶ 70-76.
       PLAINTIFF’S “MONELL” CLAIM; 42 U.S.C. §§ 1981,
                     1983, 1985 AND 1986
235. Plaintiff was an otherwise qualified female employee within
     I.S. 171, NYC and DOE.
236. Plaintiff suffered the adverse employment actions herein set
     forth and alleged.
237. Plaintiff has been damaged and remains damaged insofar as
     she is treated differently than others who are not
     white/Caucasian females.
238. Defendants, individually and collectively, did work together to
     deprive Plaintiff of her civil rights on the basis of race/color,
     sex/gender.
239. Plaintiff SHARON LAFIA was deprived of the ability to
     participate and obtain equal rights to engage in contractual
     relations and employment as other similarly situated
     black/male persons.
240. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions acted
     with intent to deprive Plaintiff of the ability to fairly contract
     with NYC and DOE on the basis of race/color, gender/sex.
241. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions


                                   45
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 47 of 56




     worked together to harm Plaintiff and others similarly
     situated, on the basis of race/color, gender/sex, to the benefit
     of those who were minority/male persons such as Defendant
     JEFFREY EUSTACHE.
242. Defendants NYC and DOE engaged in a policy, pattern and
     practice, custom, trade and/or usage of harming persons
     similarly situated to Plaintiff, that being white/Caucasian
     female persons, in their ability to enjoy the same benefits of
     employment, contract and other benefits of employment as
     compared to persons such as Defendant JEFFREY EUSTACHE,
     that being black/African American, male persons.
243. Through Defendants, individually and collectively, practices,
     intentional acts and/or omissions, Plaintiff has suffered harm.
244. Through Defendants, individually and collectively, practices,
     intentional acts and/or omissions, Plaintiff has been unable to
     help her students or address the concerns of Complaining
     Parents.
245. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions acted
     to harm Plaintiff and worked together to harm Plaintiff on
     the basis of her race/color sex and/or gender.

             DEFAMATION/SLANDER/STIGMA PLUS
                        (New York and Federal Law)
246. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions stated
     Plaintiff was a sexual harasser when she was in fact not.
247. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions knew


                                   46
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 48 of 56




     and had reason to know that their actions, statements,
     publications and repetition that Plaintiff sexually harassed a
     male when she did not was a false statement.
248. Defendants, individually, collectively, jointly and severally
     falsely accused Sharon LaFia of sexual harassment,
     discrimination, illegality and the being unfit for her job
     duties.
249. Defendants have published this information both publicly,
     through administrative hearings and for the purpose of
     harassment on various court filings.
250. Defendants made a false statement about the plaintiff;
     published that false statement to a third party without
     authorization or privilege through fault amounting to at least
     negligence on the part of the publisher; and that false
     statement constitutes defamation which caused special
     damages
251. As a result of said defamation, Plaintiff Sharon LaFia
     continues to suffer from humiliation, loss of standing in the
     community, accusations that Plaintiff was unable to perform
     her job duties/be an educator, loss of self-esteem and public
     esteem, public disgrace and severe/extreme emotional
     distress.
252. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions
     repeated that Plaintiff, as cited above, was unfit for her job
     position.
253. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions


                                   47
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 49 of 56




     repeated that Plaintiff, as cited above, should be terminated
     from her job position.
254. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions knew
     and had reason to know that Plaintiff was innocent of
     wrongdoing professed by Defendant JEFFREY EUSTACHE.
255. Defendants, jointly and severally, individually and
     collectively, did perpetuate the fraud against Plaintiff while
     exonerating Defendant JEFFREY EUSTACHE who was, among
     other things, accused of physically harming special education
     students in Plaintiff’s care.
256. Defendants, jointly and severally, individually and
     collectively, are responsible with the harm Plaintiff suffered,
     the actual, proximate and but-for cause of harm suffered by
     Plaintiff associated with being labelled a sexual deviant,
     engaging in sexual misconduct and making inappropriate
     advances towards an employee when she denies and is not
     guilty of any such wrongdoing.

           FEDERAL & PENDENT STATE LAW CLAIMS
257. Defendants, jointly and severally, individually and
     collectively, had a duty not to subject Plaintiff Sharon LaFia
     to constitutional violations, summary punishment, improper
     and inappropriate charges, false evidence, stigma malicious
     prosecution, abuse of process, false and improper
     investigation.
258. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions acted
     outrageously and beyond the bounds of decency in attempting


                                   48
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 50 of 56




     to coerce Plaintiff and defaming, slandering and failing to
     redress the grievances suffered by the Plaintiff.
259. Defendants, jointly and severally, individually and
     collectively, violated the Plaintiff's rights secured under the
     United States Constitution and the New York State
     Constitution.

                     MALICIOUS PROSECUTION
                       (New York and Federal Law)
260. The actions of the Defendants, jointly and severally,
     individually and collectively, in prosecuting Sharon LaFia for
     NYCDOE v. LaFia SED No. 36157 3020-a, and are a
     perversion of proper legal procedures in violation of his
     personal liberty and privacy interests under the Fourth
     Amendment.
261. Defendants actions, as discussed above, were undertaken to
     punish Sharon LaFia for speaking out against discrimination.
262. Defendants, collectively, did act to punish Sharon LaFia,
     defame Sharon LaFia, harass and intimidate and seize
     Sharon LaFia by legal process, threat of fines and
     prosecution.
263. Defendant JEFFREY EUSTACHE’s lawsuit was dismissed
     against SHARON LAFIA even though such Defendant through
     its attorneys persist in pursuing motion and motion, and
     prolong the appeal(s) against her simply to repeat the
     defamatory statements against SHARON LAFIA and harm her
     to no end.
264. The actions of the Defendants, jointly and severally,
     individually and collectively, in prosecuting SHARON LAFIA



                                   49
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 51 of 56




     were initiated or continued against her, with malice and
     without probable cause.
265. Plaintiff has suffered harm, stigma and damages to defend
     such legal matters that were without probable cause, based
     on false evidence, for which she was deprived of a fair trial
     and/or dismissed against her.
      DISCRIMINATION, HOSTILE WORK ENVIRONMENT &
         RETALIATION UNDER STATE AND FEDERAL LAW
(42 U.S.C. § 1981, Title VII of the Civil Rights Act of 1964, New York State Human
      Rights Law and New York City Human Rights Law – Administrative Code of
                           the City of New York, § 8-101 et seq.)
266. Defendants, individually and collectively, did make false
     allegations seeking to have Sharon LaFia charged and
     prosecuted.
267. Defendants, individually and collectively, did make these
     false accusations to injure Sharon LaFia, subject Sharon
     LaFia to seizure and/or arrest, prosecution and legal process.
268. As a result of the conspiracy (42 U.S.C. §§ 1983, 1985 and
     1986) perpetrated by and contributed to by the Defendants,
     jointly and severally, individually and collectively, Sharon
     LaFia was forced to obtain representation from multiple
     attorneys, inclusive of Jesse Gribben, Esq. and the
     undersigned.
269. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions
     worked together to harm Plaintiff based on her race/color
     gender/sex knowing and having reason to know that their acts
     were without justification or that such justification was a
     falsehood by JEFFREY EUSTACHE to exonerate himself from
     the various misconduct he committed in I.S. 171.


                                       50
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 52 of 56




270. Defendants actions were the actual and proximate cause of
     harm, embarrassment, accruing legal fees and other damages.

            NEW YORK STATE EXECUTIVE LAW § 296
271. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions acted
     to violate Plaintiff’s rights under the New York State and
     New York City laws against, among other things,
     discrimination and retaliation.

                        ABUSE OF PROCESS
                       (New York and Federal Law)
272. Defendant issued legal process to silence and punish Plaintiff
     for speaking out.
273. As discussed more fully above, Defendants, jointly and
     severally, individually and collectively, in order to obtain a
     collateral objective that is outside the legitimate ends of the
     process did cause a series of unfounded accusatory
     instruments to be issued against Plaintiff Sharon LaFia.
274. Defendants, jointly and severally, individually and
     collectively, intended to do harm and cause damage to
     Plaintiff Sharon LaFia and her family without justification.

        NEGLIGENCE AND NEGLIGENT RETENTION
275. Defendants, jointly and severally, individually and
     collectively, had a duty to act reasonably and responsibly and
     not to act in a manner that would cause injury and/or harm or
     the threat of harm to the Plaintiff Sharon LaFia.




                                   51
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 53 of 56




276. Defendants were negligent, careless, and reckless in the
     treatment of Plaintiff by failing to train, supervise, discipline
     and investigate its employees involved in the instant matter.
277. Defendants, inclusive of NYC and NYC DOE, knew or should
     have known of its employees’ propensities for the conduct
     which caused substantial and severe injury to the Plaintiff.
278. Defendants, jointly and severally, individually and
     collectively, through their conduct, acts, and omissions acted
     in concert with NYC and DOE to retain employees that
     harmed New York City special education students while
     creating a hostile education/work environment in harming
     employees that provided proper care and education to the
     same students.
279. NYC and DOE jointly and severally, individually and
     collectively, through their conduct, acts, and omissions acted
     to harm qualified white/Caucasian female employees while
     retain unqualified minority/male employees irrespective of
     the misconduct of such employees, inclusive of JEFFREY
     EUSTACHE.
280. Defendants acted negligently in violating the civil,
     Constitutional, and human rights of the Plaintiff.

      NEGLIGENT AND/OR INTENTIONAL INFLICTION OF
                  EMOTIONAL DISTRESS
281. Defendants, individually and/or collectively, jointly and/or
     severally, acted outrageously and beyond the bounds of
     decency in violating the civil rights and liberty interests of the
     Plaintiff causing her to suffer pain, shame, humiliation and
     anguish.



                                   52
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 54 of 56




282. The reprehensible, extreme and outrageous conduct of the
     Defendants, jointly and severally, individually and
     collectively, against Plaintiff occurred with intent and full
     knowledge that their conduct would cause severe and extreme
     emotional and psychological harm to Plaintiff.
283. Defendants did fail to investigate improper use of process,
     harassment and Hostile Education Environment but, rather,
     Defendants began to conspire and cover up such actions by
     prosecuting criminal charges and threatening Plaintiff with
     unjust fines, reprimand and punishment, threat of loss of job,
     job benefits, advancement and workplace environment.
284. The Defendants knew or had reason to know that Plaintiff
     Sharon LaFia was guilty of no wrongdoing.
285. Defendants, jointly and severally, individually and
     collectively, acted with knowledge and reason to know that
     their conduct would cause severe and extreme emotional and
     physical harm to Plaintiff.

                         PRIMA FACIE TORT
286. Defendants, individually and/or collectively, jointly and/or
     severally, acted outrageously and beyond the bounds of
     decency in violating the civil rights and liberty interests of the
     Plaintiff Sharon LaFia causing her to suffer pain, shame,
     humiliation and anguish.
287. Defendants, individually and/or collectively, jointly and/or
     severally acted to intentionally inflict of harm upon Plaintiff.
288. Defendants, individually and/or collectively, jointly and/or
     severally caused Plaintiff special damages as evidenced by



                                   53
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 55 of 56




     Plaintiff’s mental distress and other harms she provided
     documentation to NYC and DOE to, among other things show
     mental distress associated with Defendants; action.
289. Defendants, individually and/or collectively, jointly and/or
     severally acted without excuse or justification, such as placing
     Plaintiff with her false accuser and not removing an employee
     who was accused of being physically violent with special
     education students from NYC/DOE.
290. The reprehensible, extreme and outrageous conduct of the
     Defendants, jointly and severally, individually and
     collectively, against Plaintiff occurred with intent and full
     knowledge that their conduct would cause severe and extreme
     emotional and psychological harm to the Plaintiff.

                     INJURIES AND DAMAGES
291. As a direct and proximate result of the wrongful actions and
     inappropriate lack of action by the Defendants, jointly and
     severally, individually and collectively, Plaintiff Sharon LaFia
     has suffered injury and damages, emotional and psychological
     harm, emotional injury, distress and pain, and incurred
     significant cost and expenses, including but not limited to
     legal fees, loss of good name and standing in the community,
     public stigma, personal humiliation, social degradation, and
     other costs and expenses.

                        PRAYER FOR RELIEF
WHEREFORE, Plaintiff SHARON LAFIA seeks judgment of this
honorable Court:
DECLARING that Defendants jointly and severally, individually and
  collectively, maliciously prosecuted Plaintiff SHARON LAFIA.


                                   54
    Case 1:22-cv-07925-PGG-JLC Document 5 Filed 10/06/22 Page 56 of 56




DECLARING that the prosecution of Sharon LaFia for allegedly
  harassing, sexual harassment, JEFFREY EUSTACHE was
  malicious.
PROHIBITING NYC and NYC DOE from maintaining a Hostile Work
   Environment.
PROHIBITING NYC and NYC DOE from maintaining a Hostile
   Education Environment.
APPOINTING a federal monitor to observe, monitor, and retrain the
   Defendants in order to assure that jointly and severally,
   individually and collectively, said Defendants refrain from
   violating the civil and Constitutional rights of the Plaintiff and
   students for whom Plaintiff was responsible and JEFFREY
   EUSTACHE intimidated, bullied, harassed if not injured.
AWARDING Plaintiff compensatory, general, and punitive damages,
costs, disbursements, and attorneys’ fees from the Defendants.
All together with such other and further relief as to this Court
shall deem just and proper.


DATED AT   Melville, New York
           October 6, 2022



                                           CORY H. MORRIS (CM 5225)
                                    THE LAW OFFICES OF CORY H. MORRIS
                                            Attorney for the Plaintiff
                                       135 Pinelawn Road, Suite 250s
                                               Melville NY 11747
                                              Phone: (631) 450–2515
                                               FAX : (631) 223–7377
                                    Email : Cory.H.Morris@protonmail.com




                                   55
